EXHIBIT B
          DEPARTMENT OF HEALTH AND HUMAN SERVICES
                DEPARTMENTAL APPEALS BOARD
                     APPELLATE DIVISION


TEXAS HEALTH AND HUMAN SERVICES    §
COMMISSION,                        §
         Appellant,                §
                                   §
v.                                 §      DOCKET NO. A-17-51
                                   §
CENTERS FOR MEDICARE &             §
MEDICAID SERVICES,                 §
          Respondent.              §


                     BRIEF OF APPELLANT
         TEXAS HEALTH AND HUMAN SERVICES COMMISSION



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                                             INTRODUCTION

           In this appeal, the Texas Health and Human Services Commission (HHSC) challenges a

disallowance of approximately $26.8 million in federal financial participation (FFP). The

Centers for Medicare & Medicaid Services (CMS) alleges that arrangements between certain

Texas hospital districts and private hospitals constitute non-bona fide provider-related donations

under federal law and CMS’ own guidance. This is in spite of more than a decade of CMS

approval and allowance of the very same funding arrangements.

           HHSC contends that (1) the state’s claimed costs are allowable without reduction; (2)

CMS has failed to comply with federal requirements to provide adequate notice of the basis of

the disallowance or calculation of the disallowed amount; (3) the legal and factual premises on

which CMS based it disallowance are erroneous because (a) there is no donation by the private

hospitals to the governmental entities; and (b) the funding arrangements do not constitute hold

harmless agreements; (4) CMS’ reliance on a state Medicaid director letter is misplaced; and (5)

HHSC acted in reliance on CMS’ previous assurances and approval of these arrangements.

HHSC therefore asks the Board to reverse the disallowance in its entirety.

                                         STATEMENT OF THE CASE

I.         Regulatory Background

           The disallowance is based on section 1903(w)(1)(A) of the Social Security Act (the Act),

which requires that the total expenditures for medical assistance in which a state claims Federal

Financial Participation (FFP) be reduced by the sum of any revenues received by the state in the

form of certain provider-related donations and taxes.1 Also relevant to the disallowance is section

1903(w)(6) of the Act, which forbids CMS from restricting intergovernmental transfers (IGTs),



1
    42 U.S.C. § 1396b(w)(1)(A) (2014).

                                                   1
funds derived from state or local taxes “transferred from or certified by units of government

within a State as the non-Federal share of expenditures under this title, regardless of whether the

unit of government is also a health care provider, …unless the transferred funds are derived by

the unit of government from donations or taxes that would not otherwise be recognized as the

non-Federal share under this section.”2

        The purpose behind section 1903(w) of the Act, which was enacted as part of the

Medicaid Voluntary Contribution and Provider-Specific Tax Amendments of 1991, Public Law

No. 102-234, 105 Stat. 1793 (Dec. 12, 1991), was twofold: to prohibit conditional donations

from Medicaid providers “as a funding source for the non-federal share when the donations are

tied to the amount of reimbursement” received by the providers, while protecting “existing

funding practices by which a state could spread the cost of its Medicaid program among its

various state and local governmental units.”3 Section 1903(w)(6) of the Act recognizes that states

finance their Medicaid programs with state and local taxes, and states do not experience cost

savings “simply because those permissible state and local tax funds are transferred to the state

Medicaid agency from other state agencies and local governments, even where the other state

agencies and local governments are providers of Medicaid services.”4

        Congress defined “provider-related donation” in section 1903(w)(2)(A) of the Act as any

donation or other voluntary payment (whether in-cash or in-kind) made directly or indirectly to a

state or unit of local government by a health care provider, an entity related to a health care

provider, or an entity providing goods or services under the state plan and paid as administrative

expenses.5 Under section 1903(w)(1)(A), a state may receive provider-related donations without


2
  42 U.S.C. § 1396b(w)(6).
3
  Georgia Dep’t of Cmty. Health, DAB Dec. No. 1973 at 1-2 (April 28, 2005).
4
  Id. at 5.
5
  42 U.S.C. § 1396b(w)(2)(A).

                                                       2
a reduction in FFP if the statutory requirements pertaining to bona fide donations are met.6 A

“bona fide provider-related donation” is defined as a provider-related donation that has no direct

or indirect relationship to payments made under title XIX to that provider, to providers

furnishing the same class of items and services as that provider, or to any related entity.7

        CMS’ predecessor, the Health Care Financing Administration (HCFA), implemented

Public Law No. 102-234 first through an interim rule in 1992, then through a final rule in 1993.8

Incorporating the statutory definition of the term, provider-related donations were defined at 42

C.F.R. § 433.52. Under the rule, donations made by a health care provider to an organization,

which in turn donates money to the state, may be considered indirect donations to the state by the

health care provider. At 42 C.F.R. § 433.54(a), the HCFA defined bona fide donations in

accordance with section 1903(w)(2)(B) of the Act: a bona fide donation is a provider-related

donation that has no direct or indirect relationship to Medicaid payments to that provider, to

providers furnishing the same class of items and services as that provider, or to any related entity

as established by the state to the satisfaction of the Secretary. Provider-related donations are

determined to have no direct or indirect relationship to Medicaid payments if the donations are

not returned to the individual provider, provider class, or related entity under a hold harmless

provision or practice.9 Under § 433.54(c), a hold harmless practice exists if any of the following

applies:

        (1) The State (or other unit of government) provides for a direct or indirect non-
        Medicaid payment to those providers or others making, or responsible for, the
        donation, and the payment amount is positively correlated to the donation. A
        positive correlation includes any positive relationship between these variables, even
        if not consistent over time.


6
  42 U.S.C. § 1396b(w)(1)(A).
7
  42 U.S.C. § 1396b(w)(2)(B).
8
  57 Fed. Reg. 55,118 (Nov. 24, 1992); 58 Fed. Reg. 43,156 (Aug. 13, 1993).
9
  42 C.F.R. § 433.54(b).

                                                        3
        (2) All or any portion of the Medicaid payment to the donor, provider class, or
        related entity, varies based only on the amount of the donation, including where
        Medicaid payment is conditional on receipt of the donation.

        (3) The State (or other unit of government) receiving the donation provides for any
        direct or indirect payment, offset, or waiver such that the provision of that payment,
        offset, or waiver directly or indirectly guarantees to return any portion of the
        donation to the provider (or other parties responsible for the donation).

        On May 9, 2014, CMS issued State Medicaid Director Letter (SMDL) #14-004 to

provide guidance related to the “allowable and unallowable use of provider-related donations”

and to address the use of certain types of public-private arrangements.10 The letter stated that

“[g]overnment entities are free to enter into agreements with private entities; however such

agreements may affect the allowability of Medicaid funding if there is a hold harmless provision

or practice.”11 CMS offered two examples of public-private partnerships that may constitute non-

bona fide provider-related donations: a lease agreement at an amount greater than fair market

value; and the provision by a private hospital of services that, historically, have been performed

by a governmental entity.12 CMS concluded that such arrangements would be considered hold

harmless arrangements.13 Further, when such an arrangement is tied “in any way,” directly or

indirectly, to Medicaid reimbursement under the Medicaid state plan, the donation would not be

considered bona fide.14

II.     Factual Background

        A.      The history of private hospital supplemental payments in Texas

        For most hospitals enrolled in Medicaid in Texas, the direct payments for services

provided to Medicaid-enrolled patients do not cover the hospitals’ costs of providing those



10
   Ex. 1, SMDL (May 9, 2014).
11
   Id. at 1 (emphasis added).
12
   Id. at 4.
13
   Id.
14
   Id. (emphasis added).

                                                  4
services.15 Federal law permits states to supplement a Medicaid agency’s direct payments for

inpatient services provided by hospitals, nursing facilities and intermediate care facilities for

individuals with intellectual disabilities up to an “upper payment limit” (UPL) on the amount of

payments the state may make in the aggregate to three categories of providers by ownership type,

including providers that are “[p]rivately-owned and operated.”16

        In 2005, HHSC submitted a state plan amendment (SPA) to CMS proposing the private-

hospital UPL supplemental funding program. Under this program, private hospitals and local

governmental entities (hospital districts, hospital authorities, or counties) would affiliate with the

goal of sustaining and enhancing access to care for Medicaid and uninsured individuals in the

community in which the hospitals and governmental entities are located.17 By collaborating in

the provision of services, the public and private entities hoped to ensure the continued viability

of the community’s public and private Medicaid providers.18 To reduce the financial burden on

the public entity, the private hospitals would fund an expenditure that had previously been borne

by the public entity but was not the legal obligation of the public entity (such as paying for

indigent care or paying physician groups to staff hospital departments). The public entity might,

at its discretion, transfer some of its tax-generated and other public funds to the state as the non-

federal share of supplemental payments to the hospitals, if such funds were available and if the

transfer was approved by the board of the public entity. 19

        During discussions with CMS concerning the approval of this SPA, CMS was fully

informed of the existence of the affiliations, the fact that private hospitals would provide services




15
   The non-federal share of direct Medicaid payments are funded by state general revenue appropriated to HHSC.
16
   42 C.F.R. § 447.271-272.
17
   See, e.g., Ex. 2, Dallas County Indigent Care Affiliation Agreement, effective September 1, 2006.
18
   Id. at 1, Recital E.
19
   Id. at 7, paragraph 5.3.

                                                        5
to indigent patients that in some cases a governmental entity previously provided, and that such

service provision could result in savings to the local governmental entity.20 Those extra funds

then could be used, at the complete discretion of the local governmental entity, to fund the

Medicaid program. For example, HHSC disclosed to CMS in its June 30, 2006, response to

CMS’ Request for Additional Information:

        An indigent care agreement is the agreement between the Local [Governmental]
        Entity and a group of local private hospitals (“Affiliated Hospitals”) to develop a
        plan for the Affiliated Hospitals to alleviate the Local Entity’s tax burden by
        providing care to the indigent, thereby allowing the Local Entity to utilize its ad
        valorem tax revenue to fund the Medicaid program.21

The SPA was approved by CMS in 2006.22

        B.      Formation of the non-profit indigent care corporations

                In July 2007, some private hospitals or hospital systems located in Dallas County

formed the Dallas County Indigent Care Corporation (DCICC), described in the entity’s bylaws

as a charitable and scientific organization within the meaning of section 501(c)(3) of the Internal

Revenue Code of 1986. 23 The purpose of the DCICC was “to provide or arrange for healthcare

of Dallas County’s indigent population.”24 In August 2007, private hospitals in Tarrant County

formed the Tarrant County Indigent Care Corporation (TCICC), with the same stated purpose as

that of the DCICC.25




20
   See Ex. 3, Letter from HHSC to Andrew A. Frederickson, CMS, responding to Request for Additional
Information at 4 (June 30, 2006).
21
   Id.
22
   See Ex. 4, Letter from CMS to Chris Traylor, Associate Commissioner for Medicaid & CHIP, HHSC, approving
State Plan Amendment 05-011 (Sept. 5, 2006).
23
   Ex. 5, Bylaws of Dallas County Indigent Care Corporation (July 12, 2007).
24
   Id.
25
   Ex. 6, Certificate of Formation, Nonprofit Corporation (Aug. 2, 2007).

                                                     6
        C.       CMS deferral of private hospital UPL payments in 2007

        In October 2007, CMS issued deferrals of UPL payments to private hospitals in Texas

based on concerns that private hospitals were either donating funds or returning a share of

Medicaid payments to the governmental entities that funded the non-federal share of the UPL

payments.26 Arrangements in Dallas County were among those questioned by CMS.

        In resolving the deferrals, HHSC worked closely with CMS and provided comprehensive

disclosures regarding its funding sources. For example, HHSC described the private hospital

UPL program to CMS in a February 4, 2008, letter as follows:

        The private hospital UPL program in Texas is built on the premise that private
        hospitals may provide charity care to indigent patients in a way that relieves local
        government entities from incurring expenses for such care that they might
        otherwise incur… [and] thus relieved, are able to contribute toward the support of
        Medicaid providers in their communities.27

        HHSC also explained that private hospitals’ decision to pay for indigent care the

governmental entity previously provided did not result in the hospitals assuming a legal

obligation of the governmental entity, stating:

        These [governmental entity] contracts were terminated, after which the private
        hospitals… entered into new contracts with the providers … with the money no
        longer being spent under the terminated contracts, the district was able to make an
        IGT to fund increased Medicaid payments.28

        HHSC also implemented Conditions of Participation that prohibit any linkage between

the indigent care private hospitals provide and any payments to the hospitals that participated in

the UPL program, and they specifically prohibit the assignment of contractual or statutory




26
   See, e.g., Ex. 7, Letter from Bill Brooks, CMS Acting Associate Regional Admin., to Chris Traylor, HHSC
Associate Commissioner for Medicaid and CHIP (Oct. 5, 2007).
27
   Ex. 8, Letter from Chris Traylor to Bill Brooks, CMS at 2 (Feb. 4, 2008).
28
   Id. at 5.

                                                        7
obligations of the governmental entity to private hospitals.29 The Conditions of Participation

also explicitly authorize private hospitals to provide indigent care by entering into their own

arrangements with healthcare providers that had previously provided services to the

governmental entity.30

         After extensive review by CMS of materials documenting and describing the funding

relationships, and after working with Texas to develop the Conditions of Participation, CMS

lifted the deferral.31 CMS’ action constituted approval that so long as public-private partnerships

adhere to the disclosures to CMS, they are in compliance with federal law. The arrangements in

Dallas and Tarrant Counties continue to operate in accordance with the Conditions of

Participation and other terms of the disclosures to CMS.

         D.       Conversion of UPL to uncompensated care

         In 2011, HHSC negotiated a five year section 1115 demonstration waiver with CMS that,

among other things, established funding for uncompensated care (UC) costs.32 Under the 1115

waiver, the UPL program was effectively converted to the UC program. Payments to private

hospitals under the UC program are funded using the same funding mechanisms as were used

under the former UPL program and under the same Conditions of Participation. Again, CMS was

aware that UC payments would be financed using those same funding mechanisms.33




29
  Ex. 9, Prospective Conditions of Participation in the Texas Private Hospital Upper Payment Limit Supplemental
Reimbursement Program, attachment to Letter from Chris Traylor to James Frizzera, Director, Financial
Management Group, CMS at 1 (May 1, 2008).
30
  Id.
31
  Ex. 10, Email from Jim Frizzera to Billy Bob Farrell, CMS, directing Farrell to begin the process of releasing the
two Texas private UPL deferrals (May 19, 2008).
32
  Ex. 11, CMS Special Terms and Conditions for the Texas Healthcare Transformation and Quality Improvement
Program section 1115(a) Medicaid demonstration, Number 11-W-00278/6, STC #44 (pertinent pages included).
33
  See id., STC #44(a)(i)(C)(I)(requiring that “[p]rivate providers must have an executed indigent care affiliation
agreement on file with HHSC”).

                                                          8
        E.       2014 deferral of private hospital payments

        In June 2014, CMS began conducting a financial management review of payments to

private hospitals in three areas of the state, including Dallas and Tarrant Counties. CMS stated

that they were relying on guidance in SMDL #14-004 to analyze Texas funding arrangements.34

        As a result of the financial review team findings, CMS sent Texas a letter deferring

expenditures of $126 million total computable, $74 million FFP, for UC payments made to

private hospitals while it further investigated the source of the non-federal share of the

payments.35 After discussions between HHSC and CMS, and CMS’ review of additional

requested documents from the private hospitals, CMS released the 2014 deferral.36 CMS stated

that release of the deferral did not constitute CMS’ acceptance of the financing arrangements, but

that CMS was willing to work with the state before making a final determination.37

        In May 2015, HHSC and CMS began a series of focused discussions evaluating the

private hospital funding issue. During that process, CMS agreed that if changes to private

hospital funding were required by CMS following the discussions, the state would have until

September 1, 2017, to transition to other funding mechanisms without risk of disallowance on

the same grounds as the 2014 deferral.38




34
   See Ex. 12, Email from Sivan Silver, HHSC, to Lisa Kirsch and others at HHSC, and to Rene Spencer and others
at CMS (May 27, 2014). SMDL #14-004 was transmitted for discussion in the context of the Financial Management
Review entrance conference.
35
   See Ex. 13, Letter from Bill Brooks to Kay Ghahremani, Director, HHSC (Sept. 30, 2014).
36
   See Ex. 14, Letter from Timothy Hill to Kay Ghahremani, Director, HHSC (Jan. 7, 2015).
37
   Id.
38
   See Ex. 15, Email from Tim Hill to Monica Leo Re: Private Hospital funding -- confirmation of transition
schedule (June 9, 2015).

                                                       9
         Over the following months, HHSC provided CMS with substantial documentation and

information in support of the questioned private hospital funding arrangements.39 Discussions

concluded in September 2015, at which time HHSC anticipated receiving from CMS an

evaluation of the allowability of the funding model used in Dallas and Tarrant Counties. That did

not happen. Prior to the disallowance being issued on September 1, 2016, HHSC never received

notice from CMS that a final determination had been made.

         F.       Disallowance TX/2016/001/MAP

         On September 1, 2016, CMS notified the state that CMS had disallowed the federal share

of expenditures related to UC payments to private hospitals in Dallas and Tarrant counties.40 The

amount of the disallowance is $26,844,551.41 The reason given by CMS for the disallowance

was that arrangements between the hospital districts and private hospitals constitute non-bona

fide provider-related donations under federal law and under the new guidance issued by CMS in

May 2014 in the form of SMDL #14-004.42 More specifically, CMS stated that:

             Dallas and Tarrant Counties43 and private hospitals in those counties coordinated to
              create non-profit corporations funded by the private hospitals.
             The DCICC and TCICC were created to fund contracts previously held by the local
              governments that provide faculty staff within the Counties’ medical facilities.
             Through this arrangement, the private hospitals indirectly assumed financial
              responsibilities once held by the local governments.
             The contract to provide services is an in-kind provider-related donation.
             The donated services augment Dallas and Tarrant Counties’ funds and the Counties
              then transfer funds to the state Medicaid agency.
             The Medicaid agency uses funds derived from the donation-based transfers as the
              non-federal share to draw federal matching funds to make additional Medicaid


39
   See, e.g. Ex. 16, Email from Monica Leo to Kristin Fan transmitting Excel spreadsheets evaluating private
hospital affiliations (May 28, 2015).
40
   See Ex. 17, Letter notifying HHSC of Disallowance TX/2016/001/MAP (Sept. 1, 2016).
41
   Id.
42
   Id.
43
   CMS repeatedly refers to the governmental entities that transferred funds to the state as “counties” when they are
actually hospital districts -- units of government separate from the counties in which they are located and with
separate taxing authority and statutory responsibilities. This distinction is pertinent to the discussion in Section V of
this brief regarding the state statutory obligations of hospital districts.

                                                           10
             payments under the state plan or a section 1115 demonstration waiver to the same
             private hospitals that fund the non-profit organizations.
            The receipt of the additional payments is the return of some or all of the provider
             donation and, as such, constitutes a hold harmless arrangement.
            The May 9, 2014, SMDL #14-004 specified that this type of arrangement is a non-
             bona fide donation prohibited by statute and regulations.44

        G.       Request for reconsideration

        By letter dated October 28, 2016, pursuant to Section 1116(e)(1) of the Act, HHSC asked

CMS’ Administrator to reconsider and reverse the disallowance decision.45 By email dated

December 29, 2016, CMS notified the state that the disallowance was affirmed.46 This appeal by

HHSC follows.

                                                ARGUMENT

I.      Overview

        The Board should reject CMS’ action and reverse the disallowance on the following

grounds: (1) the state’s claimed costs are allowable without reduction; (2) CMS has failed to

comply with federal requirements to provide adequate notice of the basis of the disallowance or

calculation of the disallowed amount; (3) the legal and factual premises on which CMS based it

disallowance are erroneous because (a) there is no donation by the private hospitals to the

governmental entities; and (b) the funding arrangements do not constitute hold harmless

agreements; (4) CMS’ reliance on a state Medicaid director letter is misplaced; and (5) HHSC

acted in reliance on CMS’ previous assurances and approval of these arrangements.




44
   Ex. 17.
45
   See Ex. 18, Letter to Bill Brooks, Associate Regional Administrator, CMS, Dallas Regional Office, from Jami
Snyder, HHSC Associate Commissioner for Medicaid/CHIP Services (Oct. 28, 2016).
46
   See Ex. 19, Email from Jeoffrey A. Branch to Monica Leo, and letter attached thereto, responding to Texas
request for reconsideration (Dec. 29, 2016).

                                                       11
II.     Burdens of Proof

        In a proceeding before the Board, it is the appellant’s responsibility to explain “why the

respondent’s final decision is wrong.”47 In the Appellate Division Practice Manual, the Board

specifically addresses burdens of proof in disallowance cases.48 The appellant has a general

burden of proof of identifying, documenting, and justifying its claimed costs.49 The federal

agency has the burden to articulate clearly the basis of the disallowance and to include in the

disallowance letter enough detail to enable the appellant to understand the issues and the

respondent’s position.50 The federal agency also has an obligation to provide information

showing how it calculated the disallowance, particularly where the amount is not identifiable in

appellant’s records as a discrete category of costs.51

III.    The state’s claimed costs are allowable without reduction.

        CMS does not allege that the state’s claimed costs are unallowable. The private hospitals

in Dallas and Tarrant Counties provided covered services to Medicaid-eligible recipients, the

hospitals met the criteria to qualify for payments through the UC program that is part of the

state’s section 1115 demonstration waiver, and, generally, the state’s claims for expenditures

through the UC program are allowable. The issue here is whether the state’s claim for

expenditures must be reduced on the grounds cited by CMS -- that is, that the state used funds

derived from impermissible donation-based transfers as the non-federal share of the UC

payments. However, unless CMS provides evidence that an impermissible donation occurred, all

of the state’s claimed expenditures are allowable without reduction.


47
   45 C.F.R. §16.8(a)(2).
48
   See “Who has the burden of proof in a case before the Board?” Appellate Division Practice Manual (June 19,
2015) https://www.hhs.gov/about/agencies/dab/different-appeals-at-dab/appeals-to-board/practice-
manual/index.html#18.
49
   Id.
50
   Id.
51
   Id.

                                                       12
         As noted above, in 2008, HHSC implemented Conditions of Participation that prohibit

any linkage between indigent care provided or paid for by private hospitals and the Medicaid

payments received by those hospitals.52 The same principles continue in the UC program through

administrative rule requirements for private hospital participation.

         Privately-operated hospitals are required to certify, among other things, that no part of

any payment to the hospital will be returned or reimbursed to a governmental entity that agrees

to transfer funds to the state on behalf of the private hospital.53 Each privately-operated hospital

located in Dallas and Tarrant County that received a UC payment during the period relevant to

the appealed disallowance has a certification on file with HHSC.54

         Additionally, a governmental entity that agrees to transfer funds to the state on behalf of a

private hospital must certify that it has not received and has no agreement to receive any portion

of the payments made to that hospital.55 The Dallas and Tarrant County Hospital Districts each

have a certification on file with HHSC.56

         The certification forms for both the hospitals and the governmental entities track the

language of the federal regulations in providing assurances that no prohibited donations are

occurring. In addition to certifying that no funds received by a hospital will be returned or

reimbursed to a transferring governmental entity, each hospital and governmental entity further

certifies that:

                  No other funds have been used to reimburse the governmental entity in
                   consideration of any supplemental funds paid to the hospital;



52
   See Ex. 9.
53
   See 1 TEX. ADMIN. CODE §355.8201(c)(1)(B)(i)(II).
54
   See, e.g., Ex. 20, Certification of Hospital Participation, Texas Health Harris Methodist Hospital Fort Worth (Oct.
19, 2012).
55
   See 1 TEX. ADMIN. CODE §355.8201(c)(1)(B)(ii)(I).
56
   See, e.g., Ex. 21, Certification of Governmental Entity Participation for Hospital Affiliates, Tarrant County
Hospital District (Oct. 24, 2012).

                                                          13
                  There are no agreements to condition the amount of funds transferred by the
                   governmental entity to the state or the amount of supplemental payments
                   received by the hospital on the amount of indigent care provided;
                  The hospital’s indigent care obligation is not conditioned on the amount of public
                   funds transferred to the state or the amount of supplemental payments received;
                  Neither the hospital nor a related entity has made or agrees to make cash or in-
                   kind transfers to the governmental entity unless --
                       o they are unrelated to the administration of the waiver program or the
                           delivery of indigent care services; or
                       o they constitute fair market value for goods or services rendered or
                           provided; or
                       o they represent independent, bona fide transactions negotiated at arms-
                           length in the ordinary course of business;
                  Neither the hospital nor a related entity has taken an assignment of a contractual
                   or statutory obligation of the governmental entity.57

         Each governmental entity further certifies that:

         All transfers of Public Funds by the Governmental Entity to HHSC to support the
         Supplemental Payments to the Affiliated Hospitals under the Waiver Program
         comply with . . . [t]he applicable regulations that govern provider-related donations
         codified at section 1903(w) of the Social Security Act (42 U.S.C. §1396b(w)), and
         Title 42, Code of Federal Regulations, Part 433, subpart B, sections 433.52 and
         433.54.58

         These certifications establish prima facie evidence that (1) there is no donation from the

private hospital to the governmental entity; (2) there is no hold harmless agreement between a

private hospital receiving a UC payment and the governmental entity that transfers funds to the

state; and (3) the transferred public funds comply with all applicable federal laws and

regulations. Absent evidence to contradict the certifications, HHSC has met its burden of

establishing that all of its claimed expenditures are allowable without reduction.59 The burden

shifts to CMS to present evidence that impermissible provider-related donations took place, as

well as the amounts of the donations, before the state’s claimed expenditures can be reduced by


57
   See Exs. 20 and 21.
58
   See Ex. 21 at 4.
59
   See Hillman Rehab. Ctr., DAB Decision No. 1663 (June 15, 1998)(“A prima facie case does not amount to an
irrebuttable presumption, but rather to evidence sufficient to support a decision in a party’s favor, absent contrary
evidence.”).

                                                           14
disallowance. CMS has failed to do that, either in its disallowance notice or in response to

subsequent requests from HHSC.

IV.       CMS’ notice of disallowance and subsequent correspondence do not comply with
          federal requirements.

          The federal regulation governing a disallowance of claims for federal financial

participation requires that CMS include the following in a notice of disallowance:

         A statement of the manner in which the disallowed amount was computed; and
         Findings of fact on which the disallowance determination is based or a reference to other
          documents previously furnished to the State containing the findings of fact on which the
          disallowance determination is based.60

          The purpose of this requirement seems clear -- to provide the state with the information

necessary to evaluate the validity of the disallowance determination and, when appropriate, to

enable the state to dispute CMS’ findings.

          The September 1, 2016, letter from CMS notifying HHSC of Disallowance Number

TX/2016/001/MAP does not contain these required elements. The letter states only that the

amount is “based on the projected value of in-kind donations” to Dallas and Tarrant County

hospital districts and that the basis is “the estimated quarterly value of various contracts” by two

organizations funded by private hospitals.61 In a footnote, the letter contains a table purporting to

show the estimated value of contract donation amounts to each of the non-profit organizations,

the quarterly equivalent of the donations, and the federal matching funds at risk.62 CMS did not

explain in the letter how it “estimated” the value of contract donation amounts and did not

identify the “various contracts” or provide copies of those documents. No findings of fact were

provided, nor did CMS reference documents previously furnished to the state containing the



60
   42 C.F.R. § 430.42.
61
   Ex. 17.
62
   Id. at 4, footnote 1.

                                                  15
findings of fact on which the disallowance determination is based. In short, the letter does not

provide sufficient information to enable HHSC to determine the validity of the disallowance, to

understand how CMS calculated the disallowance amount, or otherwise to be able to fully

respond to the disallowance action.

        On September 16, 2016, HHSC sent a letter requesting that CMS provide the information

required by § 430.42.63 On September 22, 2016, CMS provided this additional information:

        In this case, the total imputed revenue received by the county governments is
        equivalent to the value of the in-kind contributions (services) funded by TCICC
        and DCICC through their assumption of certain medical service contracts. As noted
        in the disallowance, CMS estimated the value of the in-kind contributions provided
        during the quarter at issue. CMS’s estimates were based on its review of contracts,
        tax returns, and other financial documents issued by the state, counties, indigent
        care corporations, and private hospitals.64

        This response still did not comply with the regulatory requirements in that it failed to

provide findings of fact or even identify the “contracts, tax returns, and other financial

documents issued by the state, counties, indigent care corporations, and private hospitals” on

which CMS’ determination and “estimates” were based. HHSC again asked CMS to comply with

the federal regulatory requirements.65 The next day, CMS responded by email:

        CMS determined that the value of the services funded by the private hospitals,
        through TCICC and DCICC, would be approximately $45,308,000 for Tarrant
        Count and $142,646,144 for Dallas County, in FFY 2016. The two figures were
        derived from Tarrant County Hospital District’s audited financial statements and
        the Financial Schedules attached to the DCICC Services Agreement. 66

        CMS attached three documents totaling 175+ pages to the email: an independent

auditor’s report and financial statements of the Tarrant County Hospital District for the periods




63
   Ex. 22, Letter from Monica Leo to Dorothy Ferguson (Sept. 16, 2016).
64
   Ex. 23, Email from Dan Wolfe to Monica Leo (Sept. 22, 2016). HHCS disputes that there was an assumption of
contracts previously held by the hospital districts as they were terminated. See infra Section V.A.1.b.
65
   Ex. 24, Email from Monica Leo to Dan Wolfe (Sept. 26, 2016).
66
   Ex. 25, Email from Dan Wolfe to Monica Leo, including attachments thereto (Sept. 27, 2016).

                                                      16
ending September 30, 2014, and September 30, 2015; a contract between the DCICC and the

University of Texas Southwestern Medical Center for the period October 1, 2015, through

September 30, 2016; and some of the schedules that are referenced in the contract.67 Neither the

email nor the attached documents support the disallowance for the following reasons:

              CMS fails to explain how it “derived” the value of services funded by private
               hospitals during federal fiscal year 2016 from Tarrant County Hospital District’s
               audited financial statements for periods ending before FFY 2016 began (i.e., for
               periods ending September 30, 2014, and 2015).
              Notwithstanding the periods covered by the documents, the email does not say how
               CMS derived “the value of services funded by the private hospitals” from those
               documents.
              CMS does not identify or provide any other “contracts, tax returns, and other
               financial documents issued by the state, counties, indigent care corporations, and
               private hospitals” that it said it used in developing the “estimates.”
              CMS does not explain why “the total imputed revenue received by the county
               governments is equivalent” to those values.
              CMS does not explain how the documents relate to the state’s claimed expenditures
               for the quarter ending December 31, 2015.

           In short, CMS failed to show how the documents support its determination that private

hospitals made impermissible donations to the hospital districts that transferred funds to the state

for the hospitals’ Medicaid payments. CMS has not provided any other documentation in support

of its disallowance action.

           Further, the cornerstone of CMS’ disallowance of federal financial participation is the

allegation that DCICC and TCICC “fund[ed] contracts previously held by the local governments

that provide faculty staff within the Counties’ medical facilities [and the] donated services

augmented Dallas and Tarrant Counties’ funds.”68 CMS has completely failed, however, to

identify which DCICC and TCICC services that form the basis of the disallowed funding had

been previously provided by local governments.



67
     See id.
68
     Ex. 17.

                                                   17
         As noted above, in support of its Dallas arrangement calculation, CMS only offered a

DCICC contract for services and its accompanying schedules that were effective October 1,

2015, through September 30, 2016. Based on the disallowance letter and supporting

documentation, the state is left to assume CMS is arguing that the services offered by DCICC

under the October 1, 2015, contract are the same services as those offered by the Dallas County

Hospital District prior to 2007, when DCICC began providing services. However, CMS’ position

is undermined by the fact that DCICC’s services have changed since the initial agreement with

the University of Texas Southwestern Medical Center. For example, since its first agreement to

offer services in 2007, DCICC has both expanded its services (e.g., increased its number of FTE

hospitalists from 8 to 60, expanded bilingual neuropsychology services, increased cardiovascular

thoracic surgery services levels, etc.) and added new services (e.g., neonatal resuscitation team,

pediatric ophthalmologist, multiple clinical service lines, etc.).69 Therefore, not all services

provided by DCICC were previously provided by the Dallas County Hospital District, and CMS

has not provided sufficient findings of fact with respect to which of the DCICC services CMS

considered when computing the disallowance.70

         CMS’ failure to comply with the requirements of § 430.42 in its disallowance letter or to

subsequently provide the state with the basic facts supporting the disallowance and calculation of

the disallowed amount deprives the state of adequate notice of the basis of CMS’ determination

and of the opportunity to fully defend its claimed expenditures or challenge the agency’s action.

         In previous appeals, this Board has reversed disallowances issued by CMS and its

predecessor agency, the HCFA, when the agency failed to establish at a minimum the details



69
  See, e.g., Ex. 25, Schedule 3.3(b).
70
  See further discussion in Section V.A.1.a. infra of flexibility of hospital districts in providing services to indigent
residents and contracting with physicians.

                                                           18
supporting the disallowance. For example, in DAB Decision No. 159, the Board considered an

appeal by the State of California of a disallowance in the amount of $215,602. HCFA’s decision

to disallow was based on its determination that the state had not refunded that amount out of the

total federal share of an overpayment identified in an audit. However, nowhere in the audit report

is the amount of the disallowance separately identified or related to specific audit exceptions.

The Board found HCFA’s failure to explain how the $215,602 relates to specific findings in the

audit fatal to its disallowance action:

           HCFA has presented no evidence to show that the $215,602 disallowed relates to
           the grounds listed in the HEW Audit Report rather than to [a] rate issue. . . .In view
           of the lack of specificity in HCFA’s findings, the uncertainty as to whether these
           payments violated Federal or State plan requirements, and the fact that the . . .
           auditors’ findings are disputed . . . we cannot say, based on the record before us,
           that the State claimed $215,602 in FFP for payments to the County for unallowable
           costs. . . . For the reasons stated above, we reverse the disallowance.71

           In DAB Decision No. 244, the Board also found that HCFA had failed to establish a

sufficient basis for the appealed disallowance:

           [W]hile Respondent ultimately cited some authority for determining that the
           disallowed amounts related to unallowable costs, Respondent has never provided
           us with a sufficient analysis of the relationship of those authorities to the time
           periods and amounts involved here.
           ...
           [We] conclude that the disallowance here should be reversed because there is not
           sufficient support in the record for a determination that the disallowed amount
           actually represents costs which were unallowable under applicable federal
           requirements.72

           Likewise, in the instant case, despite the state’s efforts to obtain the information, CMS

has never provided a sufficient analysis of the relationship between the alleged donations and the

time periods or amounts of the disallowance. As it did in those appeals, the Board should reverse




71
     California Dep’t of Health Servs., DAB Dec. No. 159 (March 31, 1981).
72
     California Dep’t of Health Servs., DAB Dec. No. 244 (Dec. 31, 1981).

                                                         19
the disallowance on the grounds that the record does not contain sufficient support for the

donation determination or the disallowed amount.

V.          The legal and factual premises on which CMS based the disallowance are erroneous.

            A.      There is no donation to a governmental entity.

            Federal law defines a provider-related donation as: (1) a donation or other voluntary

payment (whether in cash or in kind); (2) made (directly or indirectly) to a state or unit of local

government; (3) by a health care provider or related entity.73 CMS does not allege that a cash

payment was made directly or indirectly to the hospital districts, or that an in-kind payment was

made directly to the hospital districts. Instead, CMS contends that the private hospitals made

indirect in-kind donations to the districts when the non-profit organizations “assumed financial

responsibilities once held by the local governments.”74 The “financial responsibilities,”

according to CMS, are “contracts previously held by the local governments that provide faculty

staff within the [hospital districts’] facilities.”75 CMS’ assertions fail because, as explained

below, under Texas state law, the non-profit organizations are not assuming any legal obligation

of the hospital districts, but instead are providing a benefit to the individuals in need of indigent

or charity care, resulting in savings to the hospital districts. There is no transfer of value from the

private hospitals to the hospital districts and, consequently, there is no donation.

                           1.      The non-profit organizations are not assuming a legal obligation of
                                   the hospital districts.

            As an initial matter, CMS does not explain how “assuming financial responsibilities”

once held by local governments creates an in-kind provider-related donation. CMS has not cited



73
  42 U.S.C. § 1396b(w)(2)(A) (2014); 42 C.F.R.§ 433.52 (2014).
74
  Ex. 17 at 2; see also Ex. 23 (“[T]he total imputed revenue received by the county governments is equivalent to
the value of the in-kind contributions (services) funded by TCICC and DCICC through their assumption of
certain medical service contracts.”).
75
     Ex. 17 at 2.

                                                        20
any authority for this statement. If CMS is alleging that the hospitals have assumed a legal

financial obligation of the districts, CMS has not said so and has not identified the source of the

legal obligation on the districts.

         HHSC does not agree that the hospitals are assuming a financial responsibility of the

districts, but even if they were, that is not enough in and of itself to create a provider donation.

Instead, to rise to the level of an in-kind provider donation, private hospitals would have to

assume a financial obligation that the local government is legally required to fulfill.

         In Texas, there are two sources of legal obligations for hospital districts: statutes and

contracts. The private hospitals and non-profit organizations in Dallas and Tarrant Counties have

not assumed a legal obligation of the hospital districts arising from either source.

                                    a.         Statutes

         Hospital districts have certain obligations under the Texas Constitution to provide health

care to indigent residents; but the state constitution permits the Texas Legislature to determine by

statute the scope of these obligations.76 Pursuant to this authority, the Legislature enacted the

Indigent Health Care and Treatment Act (IHCTA).77 Under this law, hospital districts have

flexibility with respect to the specific health care services they choose to provide to indigent

residents and with respect to how they provide those services. For example, with regard to basic

health care services, the statute provides:

                (a) Except as provided by Subsection (b), a hospital district shall endeavor
         to provide the basic health care services a county is required to provide under
         Section 61.028, together with any other services required under the Texas
         Constitution and the statute creating the district.


76
  TEX. CONST. art. IX, §9A (“The legislature by law may determine the health care services a hospital district is
required to provide, the requirements a resident must meet to qualify for services, and any other relevant provisions
necessary to regulate the provision of health care to residents.”).
77
 TEX. HEALTH & SAFETY CODE § 61.051 et seq., relating to Persons Who Reside in an Area Served by a Public
Hospital or Hospital District.

                                                          21
                 (b) A hospital district shall coordinate the delivery of basic health care
        services to eligible residents and may provide any basic health care services the
        district was not providing on January 1, 1999, but only to the extent the district is
        financially able to do so.78

        The statute creating the Dallas and Tarrant County hospital districts is Chapter 281 of the

Health and Safety Code, which applies to hospital districts in counties of at least 190,000.79

Chapter 281 provides that the Dallas and Tarrant County hospital districts “may appoint, contract

for, or employ physicians.”80 The language is permissive, not mandatory, and the authority to

employ physicians is limited “only as necessary for the district to fulfill the district’s statutory

mandate to provide medical and dental care for the indigent and needy residents of the district.”81

As with the Indigent Health Care and Treatment Act, this language does not impose on the

Dallas and Tarrant County hospital districts a legal obligation to contract for or employ

physicians.

        As HHSC stated during discussions concerning the 2007 deferral, “[t]he scope of the

local government entity’s obligation is…to provide or pay for indigent care that someone else is

not providing or paying for.”82 The private hospitals are not assuming a financial obligation the

hospital districts are legally required to fulfill.

                                   b.     Contracts

        The hospital districts are not parties to the current contracts that CMS alleges comprise

the impermissible donations. CMS recognizes that, to the extent the hospital districts had

preexisting contractual obligations to third parties, such as physician groups, those contracts




78
   Id. at § 61.055 (emphasis added).
79
   See TEX. HEALTH & SAFETY CODE § 281.001 et seq.
80
   § 281.0282(a)(Dallas County) and § 281.0286(a)(Tarrant County)(emphasis added).
81
   Id. at § 281.0282(d); see also id. at § 281.0286(d).
82
   Ex. 8 at 3.

                                                      22
were terminated.83 The effect of this was to extinguish altogether the hospital districts’

contractual obligations.

         The past practice of a governmental entity electing to pay for certain services does not

create a legal obligation for the governmental entity to continue to do so in the future. The only

way to characterize the Dallas and Tarrant County arrangements as resulting in a provider

donation is if the prior provision of, or payment for, care by the public entity in and of itself

creates an ongoing legal obligation for the government to continue to provide or pay for these

services in perpetuity. When private entities contract for services in the community at their sole

discretion, even when similar contracts were previously held by a governmental entity, there is

no donation.

         If the provider donation rules were interpreted to infer a donation when any private

hospital action has incidental benefit to a governmental entity, this would deter private entities

from undertaking a broad range of activities that would help the community. For example, an

expansion of a private hospital charity care policy could be construed as a donation to a public

hospital, since it could result in fewer patients for the public hospital. An interpretation that

would deter private hospitals from providing charity care cannot be the one intended by CMS.

         The legal structure of the Dallas County arrangement has not changed in any significant

way from the one described in documents submitted to CMS in 2007 and 2008. One of the

documents provided to CMS was a memorandum describing the funding model.84 Another

document submitted to CMS in 2008 was a letter explaining why there is no assumption of




83
  See, e.g., Ex. 17 at 2 (“the DCICC and TCICC . . . fund contracts previously held by the local governments”)
(emphasis added); see also Ex. 1 at 4 (“the local government entity would terminate its existing contract with the
non-profit organization”).
84
  See Ex. 26, Memorandum to James Frizzera, CMS, and Daniel Aibel, HHS Office of General Counsel (Aug, 21,
2007).

                                                         23
obligations of the local governmental entity.85 These documents (along with many others

provided to CMS in 2007-2008) explain why these longstanding relationships do not create a

legal obligation for the governmental entity.86

                                    2.         The non-profit organizations are providing or paying for
                                               indigent or charity care to individuals, not providing a
                                               donation to a governmental entity.

           Under Texas law, “charity care” means the unreimbursed cost of:

                            (a) providing, funding, or otherwise financially supporting health
                            care services on an inpatient or outpatient basis to a person classified
                            by the hospital as “financially indigent” or “medically indigent”;
                            and/or

                            (b) providing, funding, or otherwise financially supporting health
                            care services provided to financially indigent persons through other
                            nonprofit or public outpatient clinics, hospitals, or health care
                            organizations.87

           A person is “financially indigent” if the person is uninsured or underinsured and is

accepted for care with “no obligation or a discounted obligation to pay for the services rendered

based on the hospital’s eligibility system.”88

           By financially supporting the non-profit health care organizations that contract to provide

non-hospital services (i.e., physician services) to financially indigent persons, the private

hospitals in Dallas and Tarrant Counties are providing charity care consistent with these

definitions. Charity care provides a benefit to the financially indigent individual and does not

relieve the hospital districts of any obligation under Texas law.



85
  See Ex. 8.
86
  The Tarrant County arrangement was not in existence at the time of the Private Hospital UPL program deferral,
but was and is structured consistent with the Dallas County model and the Conditions of Participation.
87
     Tex. Health & Safety Code § 311.031(2).
88
     Id. at § 311.031(7).




                                                         24
           In recognition of the unreimbursed costs of providing charity care, Texas confers on non-

profit organizations, including non-profit private hospitals, eligibility for tax-exempt status.89

Due to this benefit conferred by the state for providing charity care, no legal payment obligation

ever arises for another person or governmental entity to pay for charitable health care services

rendered to financially indigent persons.

           Significantly, the definition of provider-related donation in the Medicaid statute requires

a “donation … to a State or unit of local government.” Because the hospitals are providing

charity care to individual indigent persons, the hospitals are not providing a donation that meets

the statutory definition. Services are being provided to individuals, not governmental entities.

           B.           There is no hold harmless arrangement.

           Not only has CMS failed to establish that a donation occurred, they have failed to identify

any hold harmless agreement between the hospitals and the hospital districts. While 42 C.F.R. §

433.54(c) is clear that any of the three arrangements listed constitute a hold harmless practice,

CMS was not clear when it issued its disallowance letter which practice (or practices) it found

applicable to the Texas arrangement.90 The disallowance letter states: “FFP is not available…

when there is a ‘hold harmless arrangement’ under which providers (or the provider class) could

be effectively repaid for a provider-related tax or donation through any direct or indirect

payment, offset, or waiver.”91 The last part of this sentence seems to indicate that CMS is

considering § 433.54(c)(3). However, the next sentence notes that “[a] hold harmless




89
  See id. at § 311.043(b) (“In order to qualify as a charitable organization under Sections 11.18(d)(1), 151.310(a)(2)
and (e), and 171.063(a)(1), Tax Code, and to satisfy the requirements of this subchapter, a nonprofit hospital shall
provide community benefits, which include charity care and government-sponsored indigent health care.”).
90
     See Ex. 17 at 1.
91
     Id.

                                                         25
arrangement is defined to include circumstances in which an increased Medicaid payment is

conditional on the receipt of a donation,” referring to § 433.54(c)(2).92

           Not only does one have to guess which impermissible arrangement CMS found, it

appears that CMS did not fully find any of these arrangements. The arrangement described in §

433.54(c)(1) does not apply because there is no non-Medicaid payment to private hospitals that

is positively correlated to the alleged donation. Neither can the arrangement described in §

433.54(c)(2) be said to apply because the private hospitals’ Medicaid payments at issue (i.e., UC

payments) do not vary based only on the amount of any alleged donation. As described in the

administrative rule governing the UC program, payments to private hospitals may vary based on

a number of factors, including the private hospitals’ allowable UC costs in proportion to those of

other providers and available federal and non-federal funds. 93 Payment amounts do not vary,

however, on the basis of the value of third-party contracts held by the hospitals or their related

parties.

           If CMS was likening the Texas arrangement to § 433.54(c)(3), it only found half of what

is required. Under § 433.54(c)(3), the state or local government receiving the donation must not

only provide a direct or indirect payment, offset, or waiver, but the provision of that payment,

offset, or waiver also directly or indirectly guarantees to return a portion of the donation to the

provider or others responsible for the donation. The disallowance letter issued by CMS does not

discuss how, or even mention if, the alleged payment, offset, or waiver guarantees to return a

portion of the alleged donation. This may be because the local governments that IGT on behalf

of private hospitals in no way (directly or indirectly) guarantee a return of the alleged donation.




92
     Id.
93
     See 1 TEX. ADMIN. CODE § 355.8201(f).

                                                  26
In fact, the Conditions of Participation that remain in effect require the participants in the UC

program to ensure, among other things, that no such guarantee exists.94

           Not only did CMS’ notice of disallowance fail to identify a provider-related donation,

CMS also failed to identify any practices that violate the hold harmless provision. Since CMS

has not shown that a hold harmless exists, as defined by federal regulation, there is no basis for

the disallowance.

           C.     CMS’ discovery request reveals its lack of factual support for the disallowance.

           On May 19, 2017 -- 10 business days before the state’s brief is due to the Board -- CMS

sent HHSC a document request listing 27 separate categories of documents for the state to

produce in this appeal.95 The requests are far-ranging and broad in scope, including multiple

requests for financial statements for private and public entities for up to a two year period;

multiple non-specific requests for “all correspondence;” and a request for all contracts, MOUs,

and letters of agreement between TCICC and all provider groups, hospitals, and governmental

units.96

           It is clear from CMS’ document request that it did not have documentation to support its

determination of an impermissible donation before it issued the disallowance. The request is a

desperate and late attempt to find factual support for its finding that an impermissible donation in

fact occurred and for the amount of the donation. CMS should not be allowed to search at this

point in the process for documentation to back-fill the gaps in its evidence at the expense of the




94
  See Ex. 20 and Ex. 21 (Certifications).
95
  Ex. 27, Letter from Daniel Wolfe to Charles Greenberg and Monica Leo, May 19, 2017. At the time of this
submission, HHSC is in the process of gathering responsive documents in its possession or control and will
endeavor to negotiate with CMS to narrow the scope of the document request.
96
     Id.

                                                       27
state.97 As discussed above, federal regulation requires the disallowance notice to include the

findings of fact on which the disallowance determination is based; it does not contemplate the

federal agency issuing the disallowance and subsequently developing the factual record to

support the action.98

VI.      CMS cannot base its disallowance on SMDL #14-004.

         In the September 1, 2016, disallowance letter, CMS states that the private hospital

funding arrangement in Texas “constitutes a non-bona fide donations [sic] as described in the

May 9, 2014 guidance.”99 HHSC does not agree that the arrangements in Dallas and Tarrant

Counties necessarily coincide with the fact situation described in SMDL #14-004. More

importantly, to the extent that CMS relies on the letter for the disallowance, such reliance is

misplaced because SMDL #14-004: articulates a policy that is inconsistent with the controlling

CMS regulation; is not entitled to deference; does not preclude the Dallas and Tarrant County

arrangements; is an improperly promulgated legislative rule; and is arbitrary and capricious in

light of CMS’ prior approval of the Texas funding arrangements.100

         A.       SMDL #14-004 is inconsistent with 42 C.F.R. § 433.54(c).

         SMDL #14-004 states that government entities are free to enter into agreements with

private entities, but Medicaid payments may be in jeopardy if a hold harmless provision or

practice exists.101 The guidance describes two sets of circumstances under which a public-private


97
   The state would be harmed by this tactic because interest is accruing on the disallowance amount during the
pendency of the appeal. Additionally, the disallowance action has created uncertainty regarding the future of private
hospital funding in the state.
98
   See 42 C.F.R. § 430.42.
99
   Ex. 17.
100
    SMDL #14-004 is subject to review under the Administrative Procedure Act because it constitutes “final agency
action” within the meaning of 5 U.S.C. § 704. First, SMDL #14-004 represents “the ‘consummation’ of the agency’s
decisionmaking process” because CMS uses affirmative and definitive language when discussing its future approval
of SPAs and disallowances. See Bennett v. Spear, 520 U.S. 154, 177-78 (1997). Second, CMS clearly intends that
“legal consequences will flow” from SMDL #14-004, as evidenced by CMS’ reliance on the letter as its basis for the
current disallowance. See id. at 178.
101
    Ex. 1 at 1; see regulatory description of a hold harmless provision or practice supra.

                                                         28
partnership arrangement results in a non-bona fide donation: arrangements that obligate a private

hospital to assume the programmatic responsibility of a unit of government; and arrangements

that obligate a private hospital to sign lease agreements at an amount greater than fair market

value.102 CMS does not, however, attempt to explain how these arrangements constitute hold

harmless practices under 42 C.F.R. § 433.54(c).

        On page four of SMDL #14-004, CMS describes the circumstances of the partnership

arrangement where non-Medicaid services are delivered to non-Medicaid eligible individuals,

but CMS does not attempt to apply § 433.54(c) to these circumstances, leaving it to the states to

determine which hold harmless practice is implicated. The existence of § 433.54(c)(1) can be

easily dismissed given that the supplemental payments to private hospitals described in the

arrangement are Medicaid payments, and § 433.54(c)(1) applies to non-Medicaid payments. A

hold harmless practice under § 433.54(c)(3) can also be dismissed because the letter says nothing

of the state guaranteeing to return a portion of the donation to the private hospitals. The existence

of § 433.54(c)(2), however, is less clear. While the Medicaid payment to the donor in the

arrangement described in SMDL #14-004 may in the broadest sense be considered conditional

on receipt of the donation, the letter is silent as to whether the Medicaid payment to the donor

“varies based only on the amount” of the donation.103 CMS’ conclusion that a hold harmless

arrangement exists because there is a provider-related donation (a contract to provide services)

and the receipt of supplemental payments “is the return of some, or all, of the donation” is much

broader than § 433.54(c)(2).104


102
     Ex. 1 at 4. According to the SMDL, the first arrangement was one of many proposed partnerships CMS
examined, but it did not say in what context. CMS may have meant in the course of drafting the letter, but it seems
possible it may have meant in the context of SPAs, deferrals, or financial management reviews. This information
would have been useful to understand the process by which CMS came to write the letter and the extent to which the
letter is a departure from previous CMS actions.
103
    42 C.F.R. § 433.54(b) (emphasis added); see id.
104
     Ex. 1 at 4.

                                                        29
           In the absence of the necessary legal analysis, CMS mixes up the three distinct types of

hold harmless practices laid out in the regulation and distills them down to the following

conclusion: any arrangement such as those described in the guidance (not the regulation) would

be considered a hold harmless arrangement, and the donation “would not be considered bona fide

when such arrangements are tied in any way, directly or indirectly, to Medicaid reimbursement

under the Medicaid state plan.”105 The result is that the relationship between the donation and the

Medicaid reimbursement described in SMDL #14-004 is far more general than the relationship

of these two elements in § 433.54(c).

           SMDL #14-004 also strays from the regulation by focusing only on the existence of a

hold harmless provision or practice, which assumes the existence of a provider-related donation.

As discussed above, HHSC does not believe that the funding arrangement in question results in a

provider-related donation as defined in the statute and regulations, and thus the hold harmless

analysis is unnecessary. For these reasons, the policy espoused by SMDL #14-004 is inconsistent

with and goes well beyond the Act and CMS’ regulations.

           B.       SMDL #14-004 is not entitled to deference.

           When a court reviews an agency’s construction of a statute and finds that Congress has

not directly addressed the precise question at issue, it should defer to the agency’s interpretation

if it is based on a permissible construction of the statute.106 This is known as Chevron deference,

and it applies to judicial review of agency regulations. By contrast, agency interpretations of

regulations, “such as those in opinion letters--like interpretations contained in policy statements,

agency manuals, and enforcement guidelines, all of which lack the force of law--do not warrant




105
      See id. (emphasis added).
106
      See Chevron U.S.A. Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837, 842-43 (1984).

                                                           30
Chevron-style deference” by a reviewing court.107 Rather, “[i]nterpretive guidance from

administrative agencies that is not the product of formal, notice-and-comment rulemaking is

entitled to respect ‘to the extent that the interpretations have the power to persuade.’”108 Factors

that give an interpretation power to persuade include the thoroughness evident in the agency’s

consideration, the validity of its reasoning, and its consistency with earlier and later

pronouncements.109

         As previously discussed, the SMDL lacks a competent legal analysis of the regulation at

issue, relying instead on a brief summary of the two funding arrangements CMS opposes.

Without attempting to distinguish these prohibited arrangements from previously-approved ones,

CMS developed inconsistent guidance. CMS did not acknowledge the inconsistency, let alone

discuss the process by which it came to issue SMDL #14-004, a factor that diminishes its

persuasiveness. Moreover, the inconsistency of SMDL #14-004 with CMS’ prior treatment of the

Dallas funding arrangement significantly reduces the letter’s power to persuade.110 This lack of

persuasiveness means that the letter CMS now cites as the basis for its disallowance would not

be entitled to deference by a reviewing court.

         C.       SMDL #14-004 does not preclude the Dallas and Tarrant County arrangements.

         HHSC understands that some states have attempted to implement private hospital funding

mechanisms similar to those in Dallas and Tarrant Counties but without the safeguards that

prevent the arrangements from resulting in impermissible provider-donations.111 SMDL #14-004


107
    Christensen v. Harris County, 529 U.S. 576, 587 (2000).
108
    Battle Creek Health Sys. v. Leavitt, 498 F.3d 401, 409 (6th Cir. 2007)(quoting Bank of New York v. Janowick,
470 F.3d 264, 269 (6th Cir. 2006)).
109
    Estate of Landers v. Leavitt, 545 F.3d 98, 107 (2d Cir. 2008), as revised (Jan. 15, 2009)(citing U.S. v. Mead, 533
U.S. 218, 228 (2001)).
110
    See, e.g., Statesman II Apartments, Inc. v. U.S., 66 Fed. C1. 608, 623 (2005) (holding that HUD’s statutory
interpretation was not entitled to Skidmore deference in part because it was inconsistent with HUD’s various earlier
interpretations of the statute).
111
    See, e.g., Ex. 9 (Conditions of Participation) and Exs. 20 and 21 (Certifications).

                                                          31
may fairly be read to caution states and stakeholders that they must carefully adhere to federal

law in structuring their public-private partnerships so that (1) the payment for services to

indigent populations by private entities is not done pursuant to an agreement guaranteeing a

return of funds to the private entity; and (2) the IGT by a governmental entity is not conditioned

on the provision of or payment for indigent or other services by the private entities. Such a

reading of SMDL #14-004 makes sense, but should not be misconstrued to preclude

arrangements where no such agreements exist -- that is, arrangements that adhere to federal law.

        CMS has not provided evidence of an agreement between Dallas and Tarrant County

hospital districts and private hospitals that contradicts the regulations or CMS’ prior approvals.

It is not enough for CMS to say the arrangements are like those described in SMDL #14-004; the

Board should require that CMS do what they have so far failed to do: come forward with

evidence that the arrangements do not comply with federal law.

        D.       CMS improperly promulgated a legislative rule.

        If CMS still believes that SMDL #14-004 precludes the Dallas and Tarrant County

arrangements, it nonetheless may not rely on the letter to support the disallowance. The

Administrative Procedure Act (APA) distinguishes between two types of agency rules:

“legislative rules” that are issued through formal rulemaking procedures and have the force and

effect of law; and “interpretive rules” that advise the public of how an agency construes the

statutes and regulations it administers and do not have the force and effect of law.112 One of the

questions that must be answered in determining whether an agency rule is legislative or

interpretative is “whether the rule effectively amends a prior legislative rule.”113 If a second rule



112
   Perez v. Mortgage Bankers Ass’n, 135 S.Ct. 1199, 1203-04 (2015).
113
   SBC Inc. v. F.C.C., 414 F.3d 486, 498 (3d Cir. 2005)(Am. Mining Congress v. Mine Safety & Health Admin., 995
F.2d 1106, 1112 (D.C. Cir. 1993)).

                                                      32
is inconsistent with a prior legislative rule, then the second rule must be an amendment of the

first; and an amendment to a legislative rule must also be legislative.114 Because SMDL #14-004

is inconsistent with CMS’ controlling regulation, it is an improperly promulgated “legislative”

rule, and CMS may not rely on the letter to support the disallowance.

         E.       CMS’ previous approval of the Dallas funding arrangement under the current,
                  unchanged regulatory requirements renders SMDL #14-004 arbitrary and
                  capricious.

         An agency is not required to use notice-and-comment procedures to issue an initial

interpretive rule or to amend or repeal that rule.115 However, in Perez v. Mortgage Bankers

Association, the Supreme Court noted that the APA provides recourse to regulated entities when

agency decisions skirt the notice-and-comment provisions by placing a variety of constraints on

agency decision making, the arbitrary and capricious standard chief among them.116 To begin,

agencies may not “depart from a prior policy sub silentio or simply disregard rules that are still

on the books.”117 Moreover, when an agency’s new policy rests upon factual findings that

contradict those which underlay its prior policy, or when its prior policy “has engendered serious

reliance interests that must be taken into account,” it would be arbitrary and capricious for the

agency to ignore such matters. 118 According to the Court, “[i]n such cases it is not that further



114
    Id. at 497(citations omitted); see also Shalala v. Guernsey Mem’l Hosp., 514 U.S. 87, 100 (1995) (“We can agree
that APA rulemaking would still be required if [the Medicare Provider Reimbursement Manual] § 233 adopted a
new position inconsistent with any of the Secretary’s existing regulations.”).
115
    See Perez, 135 S.Ct. at 1206-07 (citing 5 U.S.C. § 553(b)(A) to reject the doctrine that agencies must use notice-
and-comment procedures when issuing a new interpretation of a regulation, i.e., an interpretive rule).
116
    Id. at 1209 (referring to 5 U.S.C. § 706). Petitioners in Perez only argued the Department of Labor’s rule was an
invalid change in interpretation due to a lack of notice-and-comment rulemaking, and the court held that interpretive
rules do not require formal rulemaking. While Perez acknowledged the arbitrary and capricious standard as a
constraint on agency action, the Court did not consider whether the Department of Labor’s interpretive rule was in
fact arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law because the Petitioners did
not raise that argument. The Court also did not address whether the change in policy was actually a legislative rule
masquerading as an interpretive rule because Petitioners waived this argument.
117
    F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009) (citing U.S. v. Nixon, 418 U.S. 683, 694-96
(1974)).
118
    Perez, 135 S.Ct. at 1209 (citing Fox Television Stations, Inc., 556 U.S. at 515).

                                                          33
justification is demanded by the mere fact of policy change; but that a reasoned explanation is

needed for disregarding facts and circumstances that underlay or were engendered by the prior

policy.”119

         As previously stated, SMDL #14-004 marks a departure from the provisions set forth in

Section 1903(w) of the Social Security Act, CMS’ existing regulations regarding provider-

related donations, and CMS’ prior approvals of the Texas program. In 2006, CMS approved the

private-hospital UPL state plan amendment after being fully informed and provided with sample

contracts showing that private hospitals would provide indigent services that could result in extra

funds available to local governmental entities that could be used to fund the Medicaid

program.120 In 2008, CMS lifted the private hospital UPL deferral with knowledge of the funding

arrangements in Dallas County and elsewhere. In 2012, CMS approved payments to private

hospitals under the UC program knowing that they are funded using the same funding

mechanisms as were used under the former UPL program and under the same Conditions of

Participation.

         In other words, for more than 11 years—consistent with the Social Security Act and

federal regulations—CMS has knowingly approved and allowed the arrangement in Dallas

County to continue. The Dallas and Tarrant County funding arrangements remain compliant with

the multiple disclosures to CMS as well as the Conditions of Participation; the only thing that has

changed since the prior CMS approvals is SMDL #14-004. CMS has not provided an explanation

or justification for its change in policy, nor has it acknowledged (let alone addressed) its




119
   Fox Television Stations, Inc., 556 U.S. at 515-16.
120
   See, e.g., Ex. 3 at 4-5, explaining that “Affiliated Hospitals . . . alleviate the Local Taxing Entity’s tax burden by
providing care to the indigent, thereby allowing the Local Taxing Entity to utilize its ad valorem tax revenue to fund
the Medicaid program,” and stating that “the State is attaching a copy of the indigent care agreement . . . for every
region that currently plans to operate a Medicaid supplemental payment program” under the state plan.

                                                           34
inconsistency with CMS’ past approvals. Given the serious reliance interests engendered by

CMS’ previous policy and its approvals in accordance therewith, it would be arbitrary and

capricious to disallow federal funds on the basis of the new policy announced in SMDL #14-004.

VII.     HHSC acted in reliance on CMS’ previous assurances.

         By issuing the disallowance, CMS is acting contrary to two specific statements made by

CMS to the state. First, in its letter to HHSC releasing the 2014 deferral, CMS stated that “to the

extent CMS determines that any financing structure within Texas’ Medicaid program violates

federal statute and regulation, we would expect Texas to make necessary adjustments by

December 2015.”121 CMS did not subsequently notify HHSC that it had determined that the

financing structure in Dallas and Tarrant Counties violates federal statute and regulation. CMS

then disallowed federal matching funds for expenditures made before December 2015.

         More importantly, CMS agreed that Texas would have until September 1, 2017, to make

changes to the funding arrangements, if required following the discussions between CMS and

HHSC during the summer of 2015.122 CMS confirmed to HHSC that current funding

arrangements would be allowed to continue for payments through August 2017, without risk of

disallowance on the same grounds questioned in the 2014 deferral.123

         CMS’ agreement to provide time for transitioning to other funding models, should that be

necessary, was reasonable and recognized several important facts and considerations:

             Private hospital participation in providing care to the Medicaid and uninsured
              populations is critical to the healthcare safety net in Texas;
             Unplanned disruptions to the safety net jeopardize the ability of these vulnerable
              populations to access needed care;
             The current funding arrangements have been in place across Texas since 2005 and in
              Dallas and Tarrant Counties since March 2007 and May 2009 respectively, with the
              knowledge and approval of CMS;

121
    See Ex. 14.
122
    See Ex. 15.
123
    Id.

                                                 35
             Unwinding the long-standing funding mechanisms, including the public process for
              local governmental entities to revise or adopt budgets, takes time;
             Identifying and implementing alternative funding sources for private hospital
              payments may require state legislative action;
             The Texas legislature meets every two years and, at that time, was not scheduled to
              be in session again until January 2017; and
             Notice and comment rulemaking by HHSC may be necessary to implement
              legislative directives.

        Following the conclusion of the discussions during the summer of 2015, HHSC believed

that CMS would notify HHSC of its final determination after reviewing all of the information

and documentation provided to CMS by the state.124 CMS never notified HHSC of a final

decision on the funding arrangements. HHSC and hospital stakeholders acted in good faith in

response to the financial review of private hospital payments, the deferral, and the series of

discussions during the summer of 2015. In reliance on CMS’ written assurances that payments

were not at risk of disallowance, HHSC continued making payments to private hospitals while

waiting for a decision from CMS.

        In making the UC payments now at issue, HHSC acted in reliance on multiple CMS

statements. However, CMS (1) disallowed federal funds they previously stated were not at risk;

and (2) did not live up to the terms of the agreement extending until September 1, 2017, the date

for Texas to make changes to private hospital funding arrangements. In order to effectively run

as large and complicated of a program as Medicaid, HHSC must be able to rely on CMS'

statements.

                                               CONCLUSION

        Based on the foregoing, Appellant Texas Health and Human Services Commission

respectfully requests that the Board reverse CMS’ disallowance in its entirety.


124
   See, e.g., Ex. 28, Email from Kristin Fan, CMS, to Monica Leo Re: Private Hospital funding -- topics for
discussion (Sept. 15, 2015)(“We have received all of the information and I don’t think we have any other questions
that need to be answered. We are working with our leadership to discuss next steps.”).

                                                        36
